     Case
      Case1:17-cv-02989-AT
            1:17-cv-02989-AT Document
                              Document1629-10
                                       1594 Filed
                                              Filed02/08/23
                                                    02/13/23 Page
                                                              Page1 1ofof1012




              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


DONNA CURLING, et al.,
Plaintiffs,
                                                CIVIL ACTION FILE NO.:
v.                                              1:17-cv-2989-AT

BRAD RAFFENSPERGER, et al.,
Defendants.

                   DECLARATION OF RHONDA J. MARTIN

       RHONDA J. MARTIN declares under penalty of perjury, pursuant to 28

U.S.C. § 1746, that the following is true and correct:

      1.      I have personal knowledge of all facts stated in this declaration and, if

called to testify, I could and would testify competently thereto.

      2.      This declaration supplements my Declarations of May 20, 2019 (Doc.

413, Ex. C); December 16, 2019 (Doc. 680, Ex. L); March 4, 2020 (Doc. 716, Ex.

3); March 10, 2020 (Doc. 723, Ex. J); August 23, 2020 (Doc. 809, Ex. 3), and

February 12, 2021.

      3.      I am Executive Secretary for the Qatar Computing Research Institute

Scientific Advisory Committee, and a board member of the Coalition for Good

Governance (“CGG”). I have developed avionics software for the Space Shuttle
     Case
      Case1:17-cv-02989-AT
            1:17-cv-02989-AT Document
                              Document1629-10
                                       1594 Filed
                                              Filed02/08/23
                                                    02/13/23 Page
                                                              Page2 2ofof1012




and worked with the Department of Defense to develop guidance and policy for the

testing of computer software for mission-critical applications. I have also taught

AP Statistics and other Upper School level mathematics courses. I have an M.S. in

Operations Research and a B.S. in Applied Mathematics from Georgia Institute of

Technology, and Teaching Certification in Math Education Major/Science

Education Minor from Purdue University.

      4.     Since my supplemental declaration of February 12, 2021, I observed

the Election Day Voting in Fulton County at the North Fulton Annex on November

8, 2022 as an authorized poll watcher.

      5.     During the 40 minutes I was on the premises, I estimated that

approximately half of the people that arrived to vote were in the wrong polling

location based on overhearing their conversations. Poll workers speculated to me

that this was because the North Fulton Annex is located on busy Roswell Road and

that for weeks people would have seen the Vote Here signs when driving by. They

also suggested that redistricting could have played a role. Each of the voters that

was turned away would have been allowed to vote at the North Fulton Annex had

it been during the Early Voting time frame, but on Election Day voters must go to

their assigned precincts. This phenomenon was also noted in the Carter Center

Report, 2022 Election Observation: Fulton County, Georgia, (Doc. 1590-6 at 15)

                                          2
        Case
         Case1:17-cv-02989-AT
               1:17-cv-02989-AT Document
                                 Document1629-10
                                          1594 Filed
                                                 Filed02/08/23
                                                       02/13/23 Page
                                                                 Page3 3ofof1012




        6.     This highlights the importance of having accurate paper backup voter

lists available to permit voter check-in, or the redirection of voters to their proper

precincts, in cases where there is an interruption in the online check-in system or

problems with the PollPads.

        7.     The Carter Center Report also notes the violation of voter privacy

because of the Ballot Marking Device touchscreen vote displays. (Id. at 13): Their

observation is consistent with my own observations expressed in my previous

declarations. On November 8, 2022, I again witnessed the inability to protect the

secrecy of ballot choices when voters are required to vote using Ballot Marking

Devices. As a poll watcher, I know to try to take deliberate steps to not look at how

people are voting, although it is sometimes difficult to find a direction to look

where I will not see voters’ selections in a busy polling place. Typical voters,

however, walking from check-in to a Ballot Marking Device or to the scanner to

cast their ballots would not know to be careful about where they directed their

gaze. Further, they would not know to use caution when selecting which Ballot

Marking Device to use if they want to be sure to improve the secrecy protection of

their ballots, something that should be guaranteed without special effort on their

part.




                                           3
      Case
       Case1:17-cv-02989-AT
             1:17-cv-02989-AT Document
                               Document1629-10
                                        1594 Filed
                                               Filed02/08/23
                                                     02/13/23 Page
                                                               Page4 4ofof1012




      8.     I have observed and personally experienced the operation of the Ballot

Marking Device touchscreens as they present messages on the screen to notify the

voter of an attempted over-vote or under-vote on a race. That notification can be

read by others in the area, and is not private.

      9.     Likewise, I have observed and personally experienced that after a

voter has made all their touchscreen selections and before the voter instructs the

Ballot Marking Device to print the ballot, the machine displays all the selections

the voter has made and permits the voter to change his selection or correct errors in

the selection. These review screens are also displayed in a manner that neighboring

voters and people in the polls can observe.

      10.    As I discussed in my declaration of February 12, 2021, the use of

Ballot Marking Devices has resulted in the legal requirement for the voter to take

on the difficult task of verifying that their ballot summary printout accurately

records their votes. My June 9, 2020 ballot had approximately 48 ballot selections

to make. There is no way I would have been able to remember all of the races on

the ballot to verify that the Ballot Marking Device ballot summary printout was

accurate and complete, so I would have had to bring a completed sample ballot

with me for reference as I attempted to complete the process of voting and then

verifying that the machine correctly printed the text of my choices.

                                           4
     Case
      Case1:17-cv-02989-AT
            1:17-cv-02989-AT Document
                              Document1629-10
                                       1594 Filed
                                              Filed02/08/23
                                                    02/13/23 Page
                                                              Page5 5ofof1012




      11.    I have to admit, my lack of enthusiasm for this task is also affected by

my knowledge that the vote that is actually counted is that embedded in the QR

code, something I can’t read or verify. When voting by mail, I do not have to check

that tools I employ are operating correctly. What I record on my mail ballot is

clearly visible to me and exists on a durable record that can be audited or manually

recounted as a trustworthy document. Due to continuing concerns about the

complete lack of privacy when using the Ballot Marking Devices, as well as

concerns about my inability to know what votes are actually being counted, I now

accept the inconvenience of voting by mail ballot deposited in a Fulton County

drop box.

      12.    Although the process has worked a number of times to permit me to

cast my ballot, I find myself frequently going online to check My Voter Page to

see if my application has been received, if my ballot had been issued, and if it has

been accepted. That is because I am aware from my work with CGG, which gets

reports of problems in ballot issuance and acceptance from many absentee mail

ballot voters, that delays and problems with mail ballot processing are common.

      13.    Another reason I routinely tolerate the inconveniences to vote a mail

ballot is to avoid the risk of PollPad check in problems that can make it very

difficult to cast a ballot, based on information that our CGG observers have

                                          5
     Case
      Case1:17-cv-02989-AT
            1:17-cv-02989-AT Document
                              Document1629-10
                                       1594 Filed
                                              Filed02/08/23
                                                    02/13/23 Page
                                                              Page6 6ofof1012




documented in the polling places. For example, the PollPad inaccuracies for

precinct 0F1 (FanPlex) during the August 11, 2020 runoff election exemplify

voting problems I want to avoid. (Whitley Decl. Doc. 800-6 ¶¶ 5-20 ; Stippich

Doc. 800-5 ¶¶ 5-13; Hursti Decl. Doc. 800-2 ¶¶ 18-19).

      14.    As noted in the Whitley, Stippich and Hursti declarations, no

meaningful backup paper poll book was available during the August 11, 2020

runoff election to permit check-in of voters whose records were erroneous to issue

regular ballots to them. As noted in the Whitley Declaration, the paper poll book

backups had been prepared prior to the June 9, 2020 primary. (Doc. 800-6 ¶¶ 18)

      15.    The lack of accurate PollPad records and current paper backup

became obvious to me personally on that same Election Day when I voted in

person in the August 11, 2020 runoff, when my mail ballot did not arrive, as I

noted in my declaration of February 12, 2021. (Doc. 1071-4 ¶21) My polling place,

Sutton School, was uncrowded and poll workers were not distracted with

problems.

      16.    When I checked in, I expected to have to answer questions about

whether I had voted the mail ballot that purportedly had been sent to me which

should have been reflected in the PollPad record. I expected that I would need to

sign an oath that I had not voted that ballot and would not do so, as I was applying

                                         6
      Case
       Case1:17-cv-02989-AT
             1:17-cv-02989-AT Document
                               Document1629-10
                                        1594 Filed
                                               Filed02/08/23
                                                     02/13/23 Page
                                                               Page7 7ofof1012




for a replacement ballot. I had watched other voters cancel their ballots in this

manner in the past observations. However, the PollPad voter history check in

information apparently did not reflect that mail ballot issuance because I was

immediately issued a voter access card for voting a regular Ballot Marking Device

ballot.

          17.   If the PollPad had shown inaccurately that I had voted the mail ballot

and should not be permitted to vote at the polls, as had happened with FanPlex

voters in 0F1, there was no applicable paper poll book backup for workers to

review to determine the official status of my eligibility to vote a regular ballot. As

noted in the referenced Declarations and in the Court’s finding (Doc. 918 at 19)

paper backups are not updated for runoff elections.

          18.   Another reason I question the accuracy of the State’s voter database is

my own Voter Participation Record as reflected on the Secretary of State's website

MVP as of January 31, 2023. (Exhibit 1) The record shows that I did not

participate in the August 11, 2020 election, although I voted in person at my home

precinct on Election Day.

          19.   As a board member of CGG, I am concerned by the requirement to

divert the majority of our resources to litigation in the Curling case. I would like to




                                            7
      Case
       Case1:17-cv-02989-AT
             1:17-cv-02989-AT Document
                               Document1629-10
                                        1594 Filed
                                               Filed02/08/23
                                                     02/13/23 Page
                                                               Page8 8ofof1012




see CGG continue education related work for Local Election Officials and poll

watchers.

      20.    CGG also has a long list of topics (e.g., transparency, poll watching,

public observation, electronic records retention, access for voters with disabilities,

and absentee ballot delivery in polling places) that it would like to address by

proposing rules to the State Election Board. This has not been possible due to the

demands of litigation.

      21.    Along similar lines, this is the first year in quite a while where CGG

has not drafted election legislation for consideration by the State.

      22.    As a member of CGG, in the past, I have regularly made public

comments at Fulton County Board of Registration and Elections meetings and at

Georgia State Election Board meetings, participated in the development of rules to

propose to the State Election Board, and attended legislative meetings and

hearings, testifying when appropriate. This is not currently possible due to the

claims the lawsuit has placed on my limited time.

      23.    One particular project of specific interest where CGG is having to

minimize the resources deployed is the current topic of Ranked Choice Voting

(“RCV”) that, according to press reports, is generating a lot of discussion among




                                           8
      Case
       Case1:17-cv-02989-AT
             1:17-cv-02989-AT Document
                               Document1629-10
                                        1594 Filed
                                               Filed02/08/23
                                                     02/13/23 Page
                                                               Page9 9ofof1012




Georgia’s political and legislative decision makers. Our most active members are

getting questions daily about the potential use of RCV.

      24.    CGG is uniquely positioned to add considerable knowledge and

experience to this discussion, but cannot afford the resources required to do so

because of the litigation. In addition to the skills and experience Marilyn Marks

has in this area, I feel that I could make significant contributions to the most

difficult part of the RCV analysis—the math of RCV that is confusing to the

public. My background as a teacher of AP Statistics and other Upper School level

mathematics courses using my B.S. in Applied Mathematics from Georgia Institute

of Technology, combined with my experience in observing Georgia’s post-election

audits, would permit me to explain to decision makers the fundamental principles

as well as the risks and complexity of the RCV math as applied in real elections.

      25.    I would like to be able to use my skills for this project, given the void

that CGG believes exists in Georgia in the understanding of RCV principles as

they are currently being debated. However, even a brief webinar or training session

would take dozens of person hours that CGG just cannot spare with the need to

address the litigation requirements.




                                           9
     Case
      Case1:17-cv-02989-AT
            1:17-cv-02989-AT Document
                              Document1629-10
                                       1594 Filed
                                              Filed02/08/23
                                                    02/13/23 Page
                                                              Page1010ofof1012




Executed on this date, February 7, 2023




                                          10
Case
 Case1:17-cv-02989-AT
       1:17-cv-02989-ATDocument
                        Document1629-10
                                  1594-1 Filed
                                         Filed02/13/23
                                               02/08/23 Page
                                                        Page11
                                                             1 of
                                                               of212




     EXHIBIT 1
                                                                                  Case
                                                                                   Case1:17-cv-02989-AT
                                                                                         1:17-cv-02989-ATDocument
                                                                                                          Document1629-10
                                                                                                                    1594-1 Filed
                                                                                                                           Filed02/13/23
                                                                                                                                 02/08/23 Page
                                                                                                                                          Page12
                                                                                                                                               2 of
                                                                                                                                                 of212




     My Registration Information         My Voting Location         Voter Participation History        Absentee Ballot Portal         My Districts & Elected O"cials                       RHONDA MARTIN




    Voter Participation History
    Your voting and petition history as shown in our system




             Information on Georgia's My Voter Page will reflect your local Elections & Registration Office's database within 24 hours of an update by a county official.




       Election Name                                                            Date Voted                                                               Election Type
       12/06/2022 GENERAL/SPECIAL ELECTION RUNOFF                               12/1/2022                                                                General Election runo?

       Ballot Type
       Absentee by mail




       Election Name                                                            Date Voted                                                               Election Type
       11/08/2022 GENERAL/SPECIAL ELECTION                                      11/1/2022                                                                General

       Ballot Type
       Absentee by mail




       Election Name                                                            Date Voted                                                               Election Type
       06/21/2022 JUNE 21, 2022 GEN. PRI./SPECIAL                               6/16/2022                                                                General Primary
       RUNOFF

       Ballot Type
       Absentee by mail




       Election Name                                                            Date Voted                                                               Election Type
       05/24/2022 GENERAL PRIMARY/SPECIAL ELECTION                              5/19/2022                                                                General Primary

       Ballot Type
       Absentee by mail




       Election Name                                                            Date Voted                                                               Election Type
       NOVEMBER 30, 2021 GENERAL/SPECIAL ELECTION                               11/30/2021                                                               General Election runo?
       RUNOFF

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       NOVEMBER 2, 2021 GENERAL/SPECIAL ELECTION                                10/29/2021                                                               General

       Ballot Type
       Absentee by mail




       Election Name                                                            Date Voted                                                               Election Type
       JANUARY 5, 2021 FEDERAL RUNOFF ELECTION                                  12/20/2020                                                               General Election runo?

       Ballot Type
       Absentee by mail




       Election Name                                                            Date Voted                                                               Election Type
       DECEMBER 1, 2020 STATE GENERAL/SPECIAL                                   12/1/2020                                                                General Election runo?
       RUNOFF

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       DECEMBER 1, 2020 CD 5 FEDERAL SPECIAL RUNOFF                             12/1/2020                                                                Special Election Runo?

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       NOVEMBER 3, 2020 GENERAL/SPECIAL ELECTION                                10/21/2020                                                               General

       Ballot Type
       Absentee by mail




       Election Name                                                            Date Voted                                                               Election Type
       SEPTEMBER 29, 2020 SPECIAL ELECTION                                      9/29/2020                                                                Special Election

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       JUNE 9, 2020 GEN. PRI./GEN. NP/SPEC. ELECTION                            6/9/2020                                                                 General Primary

       Ballot Type
       Absentee by mail




       Election Name                                                            Date Voted                                                               Election Type
       DECEMBER 4, 2018 STATE AND LOCAL ELECTION                                12/4/2018                                                                General Election runo?
       RUNOFF

       Ballot Type
       Absentee by mail




       Election Name                                                            Date Voted                                                               Election Type
       NOVEMBER 6, 2018 GENERAL/SPECIAL ELECTION                                11/1/2018                                                                General

       Ballot Type
       Absentee by mail




       Election Name                                                            Date Voted                                                               Election Type
       JULY 24, 2018 GEN. PRI. RO/GEN. NP R0/SPEC. RO                           7/24/2018                                                                General Primary runo?
       EL

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       MAY 22, 2018 GEN. PRI./GEN. NP/SPEC. ELECTION                            5/18/2018                                                                General Primary

       Ballot Type
       Early In-Person




       Election Name                                                            Date Voted                                                               Election Type
       DECEMBER 5, 2017 GENERAL/SPECIAL ELECTION                                12/5/2017                                                                General Election runo?
       RUNOFF

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       NOVEMBER 7, 2017 GENERAL/SPECIAL ELECTION                                11/3/2017                                                                General

       Ballot Type
       Early In-Person




       Election Name                                                            Date Voted                                                               Election Type
       NOVEMBER 8, 2016 GENERAL/SPECIAL ELECTION                                10/31/2016                                                               General

       Ballot Type
       Early In-Person




       Election Name                                                            Date Voted                                                               Election Type
       JULY 26, 2016 GEN. PRI. RO/GEN. NP R0/SPEC. RO                           7/26/2016                                                                General Primary runo?
       EL

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       MAY 24, 2016 GEN. PRI./GEN. NP/SPEC. ELECTION                            5/13/2016                                                                General Primary

       Ballot Type
       Early In-Person




       Election Name                                                            Date Voted                                                               Election Type
       MARCH 1, 2016 PPP/SPECIAL ELECTION                                       2/25/2016                                                                PPP

       Ballot Type
       Early In-Person




       Election Name                                                            Date Voted                                                               Election Type
       GEN._SPEC. ELECTION                                                      11/4/2014                                                                General

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       GEN. PRI._GEN. NP_SPEC ELECTION                                          5/20/2014                                                                General Primary

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       NOV. 5, 2013 - GENERAL MUNICIPAL                                         10/26/2013                                                               Special/Non-Partisan

       Ballot Type
       Early In-Person




       Election Name                                                            Date Voted                                                               Election Type
       GENERAL                                                                  11/6/2012                                                                General

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       SPECIAL                                                                  7/31/2012                                                                Special Election

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       PRESIDENTIAL PRIMARY                                                     3/6/2012                                                                 PPP

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       SPECIAL                                                                  11/8/2011                                                                Special Election

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       GENERAL RUN-OFF                                                          11/30/2010                                                               General Election runo?

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       GENERAL                                                                  11/2/2010                                                                General

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       GENERAL PRIMARY RUN-OFF                                                  8/10/2010                                                                General Primary runo?

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       GENERAL PRIMARY                                                          7/20/2010                                                                General Primary

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       SPECIAL                                                                  12/1/2009                                                                Special Election

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       SPECIAL                                                                  11/3/2009                                                                Special Election

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       GENERAL RUN-OFF                                                          12/2/2008                                                                General Election runo?

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       GENERAL                                                                  11/4/2008                                                                General

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       GENERAL PRIMARY RUN-OFF                                                  8/5/2008                                                                 General Primary runo?

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       GENERAL PRIMARY                                                          7/15/2008                                                                General Primary

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       PRESIDENTIAL PRIMARY                                                     2/5/2008                                                                 PPP

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       GENERAL                                                                  11/7/2006                                                                General

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       GENERAL PRIMARY RUN-OFF                                                  8/8/2006                                                                 General Primary runo?

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       GENERAL PRIMARY                                                          7/18/2006                                                                General Primary

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       SPECIAL                                                                  11/8/2005                                                                Special Election

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       GENERAL                                                                  11/2/2004                                                                General

       Ballot Type
       Regular




       Election Name                                                            Date Voted                                                               Election Type
       GENERAL PRIMARY                                                          7/20/2004                                                                General Primary

       Ballot Type
       Regular




                     Georgia Voter Id                                       Stop Voter Fraud                                         Elections Division                            Georgia VoteSafe
           More about Georgia voter identiAcation             Do your part to ensure secure and fair Georgia            Georgia Secretary of State’s Elections Division     More about Georgia VoteSafe Program
                       Requirement                                              Elections




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